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                                       Exhibit 1
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                                                                      GLORIETA GEOSCIENCE, INC.


INTRODUCTION

Glorieta Geoscience, Inc. (GGI) was retained by Montgomery & Andrews, P.A. on behalf of
defendant Weston Solutions, Inc. (Weston); Glaser, Weil, Fink, Howard, Avchen & Shapiro,
LLC, on behalf of defendant Environmental Restoration, LLC, (ER); and the U.S. Department of
Justice on behalf of defendant the United States, all defendants in U.S. District Court Case: In re:
Gold King Mine Release in San Juan County, Colorado on August 5, 2015; Case No. 1:18-MD-
22824-WJ (D. N.M.) as related to all cases. GGI was formally retained by the defendants in May
and June of 2021 after the unfortunate and untimely death of the previous defendant expert. The
litigation includes claims by individual farmers (the “Individual Plaintiffs”) for alleged crop
damage losses caused by the August 5, 2015 Gold King Mine (GKM) spill/release.

Due to recent engagement in this case and COVID-related restrictions on the Navajo Nation,
GGI was unable to conduct a field visit to the subject farms prior to submitting this report. A
field visit will be scheduled in the future.

For this analysis, GGI obtained publicly-available and private satellite imagery from 2014, 2015,
2016, and 2018 to evaluate vegetative cover on Individual Plaintiffs’ Land Use Permit Plots
(LUPP). Efforts were made to obtain imagery for the 2017 growing season, but none was
available. Vegetated acres were estimated for each year using Normalized Difference Vegetation
Index (NDVI), an index that can be used to indicate the presence of growing vegetation. Total
vegetated acreage from each LUPP was compared to cultivated acres claimed as lost by
Individual Plaintiffs in their Federal Tort Claims Act (FTCA) Administrative Claims, the
Plaintiff Questionnaires prepared by plaintiffs’ counsel, and claims made in depositions of
plaintiffs that provided LUPP documentation.

Results from the NDVI analysis provide an assessment of the presence or absence of actively
growing vegetation on LUPPs identified by plaintiffs as experiencing damage from the GKM
spill by accounting for the number of vegetated acres within each LUPP boundary. Results from
the NDVI analysis do not identify different types of vegetation or determine the health of
vegetation, other than to discriminate between actively growing vegetation and barren or fallow
land. This approach ensures that most, if not all, actively growing vegetation is accounted for in
each LUPP during the peak growing season.

UNCERTAINTIES

Uncertainties in GGI’s investigation include:

1. Acreage and location of specific crops within each LUPP

2. Age of individual alfalfa stands (some deponents testify to age of alfalfa in depositions)

3. Documented records of historic crop production and cash receipts from cultivated acreage
within each LUPP

4. Location of fruit bearing trees within each LUPP


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                                                                      GLORIETA GEOSCIENCE, INC.


Therefore, 2015 NDVI threshold values were adjusted to 0.08, instead of 0.2 used for NAIP
imagery.

After threshold values were established, each LUPP, as received from BIA, was analyzed on a
pixel-by-pixel basis. Pixels above the threshold value for each Plot were summed and converted
to acres. The resulting value of acres above the established NDVI threshold is presented as the
total acres of actively growing vegetation within each LUPP on the day the image was captured.

Results from this analysis are presented in Appendix B.

ANALYSIS OF SUCCESSFUL CROPS GROWN BY ALLEN PLAINTIFFS IN
2016

Of the 115 Allen Plaintiffs with identified LUPPs, 16 plaintiffs were identified that grew crops in
2016. Based on the natural color imagery, a visual inspection of this sub-group indicated that
each of the 16 plaintiffs grew a crop on a least a portion of their LUPP in 2016 that was of
similar acreage as their 2014 crop. NDVI results were not relied on for this specific analysis.

Similar acreage of cultivated crops on these plots in 2016, when compared to 2014, indicates that
any agricultural losses, with respect to a claimed reduction in productive acreage in 2016 or later,
are related to changes in farming practices (e.g., refusing San Juan River irrigation water) rather
than the release of material from the GKM. The 16 plaintiffs are identified below and maps of
their individual LUPPs are presented in Appendix B.

      Bessie Tesswood                                   Lucinda Benalley
      James Simpson                                     Ron Miller
      Cecil Duncan                                      Harry S. Nakai
      Jerome Smith                                      Marlene Dobey
      Roger Barber                                      Susan Benally
      Darrell Jim                                       Hubert Harwood
      Jimmie Coolidge                                   Melvin Curley
      Roger Sherman
      Duane Aspaas




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                                                                     GLORIETA GEOSCIENCE, INC.



ANALYSIS OF LOST ACRES CLAIMED VERSUS VEGETATED ACRES
FOR ALLEN PLAINTIFFS

GGI compared total lost acres claimed in FTCA Administrative Claim Forms and Plaintiff
Questionnaires by Allen Plaintiffs against total vegetated acres identified within all LUPPs
through NDVI analysis, and the results are presented in Table 1 below. Of the 115 plaintiffs that
provided LUPPs, 49 plaintiffs listed total claimed acres lost in 2015. Values in Table 1 below
were calculated by summing total claimed lost acres and summing total acres classified as
vegetated within LUPPS for the 49 plaintiffs. Vegetated acres were derived from NDVI analysis
results for 2014, 2015, 2016, and 2018.

Table 1. Claimed Lost Acres Versus NDVI Vegetated Acres

   Total Lost Acres       2014 Total        2015 Total       2016 Total NDVI      2018 Total
   Claimed (n=49)         NDVI Acres        NDVI Acres            Acres           NDVI Acres


         634                  265               298                171                 158


Estimated lost acreage in 2015, based on claims made by 49 plaintiffs, was 634 acres (Table 1).
This represents more than double (213%) the acreage identified by the NDVI analysis as actively
growing vegetation in July, 2015, prior to the GKM spill on August 5, 2015.




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                                                                    GLORIETA GEOSCIENCE, INC.


CONCLUSIONS

  1. Conclusions Related to the Entire Analyzed Set of Plaintiffs

         a. No reproducible records of historic crop production on plaintiffs’ LUPPs have
            been provided.

         b. Significant discrepancies exist between claims listed on the FTCA Administrative
            Claim Forms, Plaintiff Questionnaires, and testimony provided in depositions.

         c. NDVI analysis of individual LUPPs indicates that relatively few plaintiffs had as
            many vegetated acres present in July 2015 as stated in their claims.

         d. Of the four years of imagery that were reviewed, no single year showed that total
            vegetated acres were equal to total lost acres claimed for all 49 plaintiffs in 2015.
            In all years analyzed, vegetated acres were less than half of total lost acres
            claimed.

         e. Based on visual inspection of the natural color imagery, 16 plaintiffs were
            identified as having cultivated a crop on a least a portion of their LUPP in 2016
            that was as healthy as their crop in 2014.

  2. Conclusions Specific to Individual Plaintiffs

         a. For each plaintiff analyzed, the total acreage of actively growing vegetation
            within the LUPP is listed in the first rows of the tables presented in Appendix B.

         b. The dates analyzed for each year are within the growing season for the analyzed
            region, so there is no cultivated crop in a given year on any portion of the LUPPs
            that did not meet the applicable threshold in the NDVI analysis.

         c. Because the analysis does not discriminate between cultivated crops and trees,
            shrubs, or other natural vegetation, the NDVI analysis tends to overestimate the
            acreage under cultivation for any given LUPP. The vegetated acres presented in
            the NDVI analysis in Appendix B represents the maximum acreage that may
            contain an actively growing crop.




                                               8
                    Natural Color
                     Case 1:16-cv-00465-WJ-LF   June 6,973-1
                                                Document 2014 Filed 06/16/22
                                                                    Natural Color with NDVI Analysis Overlay
                                                                               Page 6 of 14




               Plot #: 50-0
Plot #: 54-0




                                                                                                    Land Use Permit Boundary


                                                                                             NDVI Analysis Results
                                                                                                    -1.0 - 0.2
                                                                                                    0.2 - 1.0




                                                                                         0
                                                                                              ²80       160               320
                                                                                                                            Feet
                                                   Appendix B-38
                    Natural Color
                     Case 1:16-cv-00465-WJ-LF    July 6, 973-1
                                                Document 2015 Filed 06/16/22
                                                                    Natural Color with NDVI Analysis Overlay
                                                                               Page 7 of 14




               Plot #: 50-0

Plot #: 54-0




                                                                                                    Land Use Permit Boundary


                                                                                             NDVI Analysis Results
                                                                                                    -1.0 - 0.08
                                                                                                    0.08 - 1.0




                                                                                         0
                                                                                              ²80       160               320
                                                                                                                            Feet
                                                   Appendix B-39
                    Natural Color
                     Case 1:16-cv-00465-WJ-LF   May 12,973-1
                                                Document 2016 Filed 06/16/22
                                                                    Natural Color with NDVI Analysis Overlay
                                                                               Page 8 of 14




               Plot #: 50-0

Plot #: 54-0




                                                                                                    Land Use Permit Boundary


                                                                                             NDVI Analysis Results
                                                                                                    -1.0 - 0.2
                                                                                                    0.2 - 1.0




                                                                                         0
                                                                                              ²80       160               320
                                                                                                                            Feet
                                                   Appendix B-40
                    Natural Color
                     Case 1:16-cv-00465-WJ-LF   May 14,973-1
                                                Document 2018 Filed 06/16/22
                                                                    Natural Color with NDVI Analysis Overlay
                                                                               Page 9 of 14




               Plot #: 50-0


Plot #: 54-0




                                                                                                    Land Use Permit Boundary


                                                                                             NDVI Anlaysis Results
                                                                                                    -1.0 -0.2
                                                                                                    0.2 - 1.0




                                                                                         0
                                                                                              ²80       160               320
                                                                                                                            Feet
                                                   Appendix B-41
Natural Color
Case 1:16-cv-00465-WJ-LF    July 6,973-1
                           Document 2015 Filed 06/16/22
                                                Natural Color with NDVI Analysis Overlay
                                                           Page 10 of 14




Plot #: 13




                                                                                 Land Use Permit Boundary


                                                                         NDVI Analysis Results
                                                                              -1.0 - 0.08
                                                                              0.08 - 1.0




                                                                     0
                                                                          ²115        230               460
                                                                                                          Feet
                              Appendix B-396
Natural Color
Case 1:16-cv-00465-WJ-LF    May 12,973-1
                           Document 2016 Filed 06/16/22
                                                Natural Color with NDVI Analysis Overlay
                                                           Page 11 of 14




Plot #: 13




                                                                                 Land Use Permit Boundary


                                                                         NDVI Analysis Results
                                                                              -1.0 - 0.2
                                                                              0.2 - 1.0




                                                                     0
                                                                          ²115        230               460
                                                                                                          Feet
                              Appendix B-397
Natural Color
Case 1:16-cv-00465-WJ-LF    May 14,973-1
                           Document 2018 Filed 06/16/22
                                                Natural Color with NDVI Analysis Overlay
                                                           Page 12 of 14




 Plot #: 13




                                                                                 Land Use Permit Boundary


                                                                         NDVI Anlaysis Results
                                                                              -1.0 -0.2
                                                                              0.2 - 1.0




                                                                     0
                                                                          ²115        230               460
                                                                                                          Feet
                              Appendix B-398
                             Natural Color
                             Case 1:16-cv-00465-WJ-LF            June 6,973-1
                                                                Document 2014 Filed 06/16/22
                                                                                     Natural Color with NDVI Analysis Overlay
                                                                                                Page 13 of 14




        Plot #: A3-U25




Plot #: A3-U26

                                    Plot #: A3-U29

                 Plot #: A3-U27




                                                     Plot #: A3-U31
            Plot #: A3-U28
                                  Plot #: A3-U30




                                                                                                                   Land Use Permit Boundary


                                                                                                              NDVI Analysis Results
                                                                                                                   -1.0 - 0.2
                                                                                                                   0.2 - 1.0




                                                                                                          0
                                                                                                               ²325     650              1,300
                                                                                                                                            Feet
                                                                      Appendix B-469
                             Natural Color
                             Case 1:16-cv-00465-WJ-LF            July 11,973-1
                                                                Document  2015 Filed 06/16/22
                                                                                      Natural Color with NDVI Analysis Overlay
                                                                                                 Page 14 of 14




        Plot #: A3-U25




Plot #: A3-U26

                                    Plot #: A3-U29

                 Plot #: A3-U27




                                                     Plot #: A3-U31
            Plot #: A3-U28
                                  Plot #: A3-U30




                                                                                                                   Land Use Permit Boundary


                                                                                                               NDVI Analysis Results
                                                                                                                   -1.0 - 0.08
                                                                                                                   0.08 - 1.0




                                                                                                           0
                                                                                                                ²325    650              1,300
                                                                                                                                            Feet
                                                                      Appendix B-470
